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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   ELIZABETH M. FALK
     Assistant Federal Public Defender
 3   450 Golden Gate Avenue
     San Francisco, CA 94102
 4   Telephone: (415) 436-7700
 5   Counsel for Defendant RAVEN
     Specially Appearing for Defendant BLAND
 6

 7

 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                    )              No. CR-07-70489 MAG
                                                  )
12                               Plaintiff,       )              MOTION AND [PROPOSED] ORDER
                                                  )              FOR TEMPORARY MODIFICATION
13            v.                                  )              OF BAIL CONDITIONS PERMITTING
                                                  )              DEFENDANTS TO TRAVEL TO LAW
14   Patrice RAVEN and Jeanette                   )              VEGAS
     BLAND,                                       )
15                                                )
                                                  )              Next Date: October 31, 2007 (Judge
16                           Defendants.          )              Chen)
                                                  )              Time: 9:30 a.m.
17                                                )              Court: Honorable Joseph C. Spero

18

19        Defendants Raven and Bland hereby respectfully request this Court to issue an order modifying

20   their bail conditions, which would permit the defendants to travel to Las Vegas for plans they

21   arranged prior to their arrests on this matter. The proposed dates of travel are November 1, 2007

22   through November 4, 2007. United States Pretrial Services Officer Hence Williams has been

23   contacted by defense counsel about this request, and has no objection to the request. USPSO

24   Williams will be provided with an itinerary detailing flight and hotel information. The defendants

25   will be back in the district no later than the evening of November 4, 2007.

26        Assistant United States Attorney Allison Marston Danner has been contacted by defense


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 1   counsel, and has no objection to the request.
 2        WHEREFORE, defendants Raven and Bland respectfully request this Court to grant the
 3   temporary modification, and allow the defendants to travel to Las Vegas between November 1, 2007
 4   and November 4, 2007.
 5

 6   IT IS SO STIPULATED
 7   DATED:               10/22/07              ______/S/_____________________________
                                                ELIZABETH M. FALK
 8                                              Assistant Federal Public Defender
 9
10   DATED:               10/22/07              _______/S/____________________________
                                                ALLISON MARSTON DANNER
11                                              Assistant United States Attorney
12
13
                                           [PROPOSED] ORDER
14

15
          GOOD CAUSE SHOWN, it is hereby ORDERED that the bail conditions of Defendants
16
     PATRICE RAVEN and JEANETTE BLAND be temporarily modified to permit them to travel to
17
     Las Vegas on Thursday, November 1, 2007, provided that the defendants return to the Northern
18
     District of California no later than the evening of November 4, 2007.         S DISTRICT
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20
                                                                     UNIT




                                                       ____________________________________
21 Dated: 10/23/7                                      THE HONORABLE JOSEPH C. SPERO
                                                                                                                 R NIA



                                                       UNITED STATES MAGISTRATE JUDGE
                                                                                                     Spero
22                                                                                         seph C.
                                                                      NO




                                                                                   Judge Jo
                                                                                                                 FO
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